Jahna M. Lindemuth (AK No. 9711068)             Nicole Borromeo (AK No. 1205031)
Scott M. Kendall (AK No. 0405019)               Alaska Federation of Natives
Cashion Gilmore & Lindemuth                     3000 A Street, Suite 210
510 L Street, Suite 601                         Anchorage, Alaska 99503
Anchorage, Alaska 99501                         Phone: (907) 274-3611
Phone: (907) 222-7932                           Fax: (907) 276-7989
Fax: (907) 222-7938                             nborromeo@nativefederation.org
jahna@cashiongilmore.com
scott@cashiongilmore.com

Attorneys for Intervenor-Plaintiff Alaska Federation of Natives

                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,

                     Plaintiff,

 KUSKOKWIM RIVER INTER-TRIBAL                      Case No. 1:22-CV-00054-SLG
 FISH COMMISSION, et al.,

                     Intervenor Plaintiffs,

 v.

 STATE OF ALASKA, et al.,

                     Defendants.


                    INTERVENOR-PLAINTIFFS’ JOINT
          REPLY TO DEFENDANTS’ OPPOSITION TO FEE MOTIONS

      Intervenor-Plaintiffs the Alaska Federation of Natives (“AFN”), the Kuskokwim

River Inter-Tribal Fish Commission (“Fish Commission”), and the Association of Village

Council Presidents (“AVCP”), Ivan Ivan, and Betty Magnuson, by and through counsel,


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hereby jointly reply to Defendants’ Opposition to Intervenor-Plaintiffs’ Fee Motions at

Docket 151.1

I.     INTRODUCTION

       State Defendants insist that Intervenor-Plaintiffs are not entitled to costs and

attorneys’ fees under 16 U.S.C. § 3117, the Alaska National Interest Lands Conservation

Act (“ANILCA”) Section 807, for two reasons: (1) this is not an action brought under

Section 807, and (2) Intervenors failed to say magic words in their complaints to invoke

Section 807.2 Neither of these assertions withstand scrutiny. Section 807 applies to all

actions against the State for the enforcement of ANILCA’s Title VIII subsistence priority.

II.    ARGUMENT

       A.      ANILCA Section 807 Provides the Sole Federal Judicial Remedy for a
               Failure of the State to Provide for the Subsistence Priority in Title VIII.

       State Defendants insist that Intervenor-Plaintiffs are not prevailing parties entitled

to costs and attorneys’ fees based on an artificially constrained reading of Section 807(a),

ignoring the plain language in Section 807(c), as well as the Congressional Record.

       ANILCA Section 807(a) broadly provides that “persons and organizations

aggrieved by a failure of the State or the Federal Government to provide for the priority for

subsistence uses set forth in section 804 . . . [may] file a civil action in the United States



1
  Consistent with this Court’s Order at Docket 150, this reply brief addresses only “the
applicability of 16 U.S.C. § 3117.” Intervenor-Plaintiffs Ahtna Tene Nené and Ahtna, Inc.
will be filing a separate reply brief.
2
  Docket 151 at 2-4.

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District Court for the District of Alaska to require such actions to be taken as are necessary

to provide for the priority.”3 The plain text of Section 807(c) emphasizes that the “section

is the sole Federal judicial remedy created by this title [16 U.S.C. §§ 3111 et seq.] for local

residents and other residents who, and organizations which, are aggrieved by a failure of

the State to provide for the priority of subsistence uses set forth in section 804 [16 U.S.C.

§ 3114].”4 The State Defendants entirely ignore this plain language.5

       The legislative history of Section 807, also not cited by the State Defendants,

confirms that Section 807 was redrafted to “provide a comprehensive mechanism for

resolution of subsistence-related disputes.”6 The Congressional Record further supports

that Section 807 “is the sole Federal judicial remedy for any aggrieved local resident,

person, or organization which believes that the State of Alaska has failed, in a particular

instance, to timely and adequately provide for the priority for subsistence uses established

by section 804.”7 Contrary to the State Defendants’ assertion that the only relief against the

State that may be sought under Section 807 is “directing the State to submit regulations,”8

the legislative history instead indicates that Congress contemplated that all actions by the


3
  16 U.S.C. § 3117(a).
4
  Id. § 3117(c).
5
   See Docket 151. There is no merit to the State Defendants’ suggestion that the
Intervenors’ claims somehow do not rise to the level of being an “action.” See Docket 151
at 1-2. Each Intervenor filed its own complaint bringing an action against the State
Defendants. Docket 12-1; Docket 38-1; Docket 41; Docket 97.
6
   126 Cong. Rec. S31110 (daily ed. Dec. 1, 1980). The relevant excerpt of the
Congressional Record is included in the accompanying Appendix.
7
  Id.
8
  Docket 151 at 4-5.

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State that interfered with the ANILCA Title VIII subsistence priority in Section 804 could

be challenged under Section 807:

               As a practical matter, the State’s responsibilities under section
               804 will be focused primarily on ensuring that hunting and
               fishing regulations adopted by the Alaska Board of Game and
               the Alaska Board of Fisheries are in compliance with the
               requirements of this section. . . . However, it also should be
               noted that the actions of the Alaska Department of Fish and
               Game and other State agencies and officials may also give rise
               to a cause of action under section 804 which may be brought
               in the Federal court pursuant to the provisions of section 807.[9]

         Both the plain statutory text itself, and the Congressional Record, confirm that

Section 807 was intended to be the sole federal remedy available to address all subsistence-

related disputes pertaining to Title VIII of ANILCA. “Because of the strong public interest

in the effective implementation of the subsistence priority,” Congress provided for an

award of full fees and costs for persons and organizations that were prevailing parties

against the State.10

         The State Defendants are simply wrong that this Court may award fees under

Section 807 only in cases where the final judgment requires the State to submit




9
    126 Cong. Rec. S31109 (emphasis added).
10
     Id.

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regulations.11 None of the cases cited by the State Defendants reach such a holding.12

Moreover, adopting the State’s proposed interpretation of Section 807 would require this

Court to reach the absurd conclusion that aggrieved persons and organizations effectively

have no recourse against the State when it interferes with the implementation of ANILCA’s

subsistence priority because the State has no ability to promulgate regulations that comply

with Title VIII under current Alaska law.

       B.     Intervenors Did Not Have to Invoke Magic Words.

       Intervenor-Plaintiffs’ Complaints in Intervention sought to enforce the subsistence

priority established in Title VIII of ANILCA. In AFN’s Complaint, for instance, in addition


11
   Compare Docket 151 at 4-5, with Kenaitze Indian Tribe v. Alaska, 860 F.2d 312, 316 (9th
Cir. 1988) (“Most fundamentally, unlike a federal agency, the state is delegated no authority
under ANILCA. The statute only provides that if the state wishes to regulate in a manner
consistent with federal law, federal regulation will be withheld. ANILCA does not assign
any particular functions to the state as, indeed, it could not. As a separate sovereign, the
state is at all times free to refuse to regulate; Congress could not compel it to do so. If the
state refuses, the Department of the Interior will step in and do the job.”).
12
   The cases cited by the State Defendants apply Section 807, but do not hold that fees are
available only in certain limited actions. Native Vill. of Quinhagak v. United States, 35 F.3d
388, 395 (9th Cir. 1994) (“The Villages are entitled to recover all of their attorney’s fees
(including fees related to their request for a preliminary injunction) based on 16 U.S.C. §
3117(a)”); Kenaitze Indian Tribe, 860 F.2d at 315 & n.5 (“Although section 3117(a)
requires the ‘exhaustion of any State or Federal (as appropriate) administrative remedies
which may be available,’ it is clear in context that ‘Federal (as appropriate) administrative
remedies’ refers to remedies that would exist if the state had not supplanted ANILCA’s
regulatory scheme with its own. Because the state has accepted section 3115(d)’s invitation
to supersede federal regulation, there is no federal administrative remedy for a plaintiff to
exhaust. The state, moreover, makes no claim that the Kenaitze have failed to exhaust any
available state administrative remedies.”); John v. United States, 1994 U.S. Dist. LEXIS
12785, *9-10 (D. Alaska Mar. 30, 1994) (“In this regard, Congress expressly provided for
district court jurisdiction over the State as regards its implementation of ANILCA.”) (citing
ANILCA Section 807(a)).

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to incorporating the United States’ Complaint requesting declaratory and injunctive relief,

AFN supplemented with allegations that as the “largest statewide Native organization in

Alaska” it sought relief because the “State’s actions have already directly harmed Alaska

Native communities who rely on the Kuskokwim River for subsistence. The State’s further

attempts to . . . invalidate Title VIII of ANILCA threaten the entire statewide population of

Alaska Natives and their ways of life.”13 The other Intervenors’ Complaints included

similar allegations.14 All Intervenors further requested the relief of costs and attorneys’

fees.15 Defendants were on notice both that Intervenors sought relief due to their statuses

as organizations and residents aggrieved by the State Defendants’ actions in contravention

of the subsistence priority established in Title VIII of ANILCA, and further that Intervenors

were seeking attorneys’ fees.

       Confusingly, although Intervenor-Plaintiffs were identified as prevailing parties in

the Judgment entered by this Court based on their claims under Title VIII of ANILCA,16

Defendants insist that Intervenor-Plaintiffs were required to invoke the magic words that


13
   Complaint in Intervention by AFN (dated Oct. 13, 2023), Docket 97 at 2 ¶¶ 1-3, 11-12.
14
   See, e.g., Docket 12-1 at 6 (“ADF&G’s actions . . . undermine the federal subsistence
priority, violate ANILCA, contravene the Commission’s authority to co-manage the
Kuskokwim River salmon fisheries with federal managers, and sow confusion among the
subsistence fishers in the region.”); see also Docket 41 at 5.
15
   Docket 12-1 at 7 (Fish Commission); Docket 38-1 at 7 (Ahtna); Docket 41 at 5 (AVCP);
Docket 97 at 7 (AFN).
16
   Docket 130; see also Native Vill. of Quinhagak, 35 F.3d at 395 (emphasizing “the strong
public interest in the effective implementation of the subsistence priority by both the State
and the Federal government” and that Section 807 “is important to ensure that the residents
of Native villages, many of which are among the poorest communities in the Nation, will
be able to secure adequate representation.” (quoting 126 Cong. Rec. S31109)).

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they were seeking costs and fees pursuant to Section 807 in their complaints, and further

somehow represented that they would not be seeking fees by “incorporat[ing] the United

States’ complaint.”17 Defendants cite to United States v. Sineneng-Smith in support of this

shaky assertion.18 Sineneng-Smith, however, stands for no such proposition. Instead, in

Sineneng-Smith, the Supreme Court concluded that the Ninth Circuit Court of Appeals had

abused its discretion under the principle of party presentation by engaging in a “takeover

of the appeal” and a “radical transformation of [the] case” by interjecting new issues on

appeal that did not “bear[] a fair resemblance to the case shaped by the parties” before the

District Court.19 Simply put, Sineneng-Smith is irrelevant to whether Intervenor-Plaintiffs

are entitled to costs and attorneys’ fees under Section 807 for prevailing on their claims

brought to uphold the subsistence priority in Title VIII of ANILCA. Intervenors could find

no legal authority requiring them to specifically cite to Section 807 in their request for fees

and costs in their complaint to be entitled to a fee award, especially where Section 807 is

the sole remedy to enforce the subsistence priority.

       Defendants’ arguments do nothing to refute the core facts that after prevailing on

their claims under Title VIII of ANILCA, and consistent with the requirements of Federal


17
   Docket 151 at 3-4.
18
   Id. at 4 n.10.
19
    140 S. Ct. 1575, 1579-82 (2020) (noting further the decision to invite amicus
organizations, and not the parties, to brief these new issues), compare with Kamen v.
Kemper Fin. Servs., Inc., 500 U.S. 90, 99 (1991) (“When an issue or claim is properly
before the court, the court is not limited to the particular legal theories advanced by the
parties, but rather retains the independent power to identify and apply the proper
construction of governing law.”).

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Rule of Civil Procedure 54(d)(2) and Local Civil Rule 54.2, Intervenors timely briefed

their entitlement to fees under Section 807.20

III.   CONCLUSION

       Intervenor-Plaintiffs are local organizations and residents that intervened in this

action to enforce the priority for subsistence uses set forth in Title VIII of ANILCA and are

therefore entitled to full costs and attorneys’ fees pursuant to 16 U.S.C. § 3117.



                                                  CASHION GILMORE & LINDEMUTH
                                                  Attorneys for Intervenor-Plaintiff
                                                  Alaska Federation of Natives


DATE: May 28, 2024                                /s/ Jahna M. Lindemuth
                                                  Jahna M. Lindemuth
                                                  Alaska Bar No. 9711068
                                                  Scott M. Kendall
                                                  Alaska Bar No. 0405019


                                                  ALASKA FEDERATION OF NATIVES
                                                  Attorneys for Intervenor-Plaintiff
                                                  Alaska Federation of Natives


DATE: May 28, 2024                                /s/ Nicole Borromeo
                                                  Nicole Borromeo
                                                  Alaska Bar No. 1205031




20
  See Docket 133 (AFN); Docket 135 (Fish Commission); Docket 137 (Ahtna); Docket
138 (AVCP).

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                                              SONOSKY, CHAMBERS, SACHSE
                                               MILLER & MONKMAN, LLP
                                              Attorneys for Intervenor-Plaintiff
                                              Kuskokwim River Inter-Tribal Fish
                                              Commission

DATE: May 28, 2024                            /s/ Nathaniel Amdur-Clark
                                              Nathaniel Amdur-Clark
                                              Alaska Bar No. 1411111
                                              Whitney A. Leonard
                                              Alaska Bar No. 1711064
                                              Lloyd B. Miller
                                              Alaska Bar No. 7906040



                                              NATIVE AMERICAN RIGHTS FUND
                                              Attorneys for Intervenor-Plaintiffs
                                              Association of Village Council
                                              Presidents, Ivan Ivan, and Betty
                                              Magnuson

DATE: May 28, 2024                            /s/ Erin C. Dougherty Lynch
                                              Erin C. Dougherty Lynch
                                              Alaska Bar No. 0811067
                                              Heather R. Kendall Miller
                                              Alaska Bar No. 9211084
                                              Matthew N. Newman
                                              Alaska Bar No. 1305023
                                              Wesley James Furlong
                                              Alaska Bar No. 1611108
                                              Megan R. Condon
                                              Alaska Bar No. 1810096
                                              Sydney Tarzwell
                                              Alaska Bar No. 1801001




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CERTIFICATE OF SERVICE

I certify that on May 28, 2024, a copy
of the foregoing document was served via ECF
on all counsel of record.

/s/ Jahna M. Lindemuth




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